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Filing # RM E-Filed 06/30/2021 12:09:50 PM

IN THE CIRCUIT COURT OF THE SEVENTH JUDICIAL CIRCUIT
IN AND FOR VOLUSIA COUNTY, FLORIDA

ARCADIA SOLUTIONS, LLC &
CASSANDRA M. SMITH,

Plaintiffs, Case No.: 2020-31481-CICI
Div. 22
¥.

BETHUNE COOKMAN UNIVERSITY,

Defendant.
/

SECOND AMENDED COMPLAINT & DEMAND FOR JURY TRIAL
COME NOW the Plaintiffs. Arcadia Solutions, LLC and Cassandra Smith (“Plaintiffs”),
by and through their undersigned counsel, and hereby file their Second Amended Complaint and
Demand for Jury Trial against Defendant. Bethune Cookman University (“Defendant”), and allege

as follows:

lL, Plaintiff, Ms. Smith, is a resident of Blythewood, South Carolina and is over the

age of 18 and is otherwise sui juris in all respects.

2. Ms. Smith both owns and is self-employed by Co-Plaintiff, Arcadia Solutions,
LLC.
3. Arcadia Solutions, LLC is a corporation incorporated under the laws o f the State of

South Carolina with a principal place of business at 2 Rosemount Court, Blythewood, South
Carolina 29016.

4. Arcadia Solutions, LLC provides federal educational grant management and
compliance and consulting services to colleges and universities across the United States such as

Defendant.
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5. In this regard, Arcadia Solutions, LLC researches potential federal grant
opportunities and assists colleges and universities in applying for these grants.

6. Once the grant is secured, Arcadia Solutions, LLC monitors compliance per the
grantor’s spending and fund allocation requirements and prepares reports necessary for submission
to the grantor to ensure that grant funds are being used for their intended purpose.

7. Defendant is a private university located in Daytona Beach, Volusia County,
Florida and it was established under the laws of the State of Florida.

g. Defendant is a regular applicant for federal higher education grants afforded by the
United States Department of Education (“DOE”).

9. Defendant is considered a grantee.

10. Venue is proper as the cause of action accrued in Daytona Beach, Volusia County,
Florida, the material witnesses to this litigation reside and/or work in Volusia County, Florida, and
the Defendant maintains a university in Volusia County, Florida.

STATEMENT OF CLAIMS

11]. On or about February 8, 2018, the Parties agreed to a 6-page contract. See Exhibit

12. Attached hereto as Exhibit | is a true and correct copy of the Parties’ February 8,
2018, contract. See Exhibit 1.

13. Defendant contracted with Plaintiffs to provide Defendant with consulting services
relating to DOE Title III grants.

14. These grants have a corresponding five (5) year program cycle; therefore, the

Parties’ contract was to last five (5) years as reflected in Paragraph 11. See Exhibit 1.
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15. Title HT grants are earmarked for Historical Black Colleges and Universities (i.e.,
“HBCU”) so that the HBCU can apply the funds to improve infrastructure and curriculum.

16. Defendant is an HBCU.

17. Defendant retained Plaintiffs to, inter alia, assist Defendant in seeking new grant
funding opportunities and to monitor grantee compliance with the grantor’s requirements.

18. According to Paragraph 5 of the Parties’ contract, Defendant agreed to pay
Plaintiffs $5,000.00 per month for its services and an additional $8,000.00 per year to prepare and
submit an annual evaluation regarding the progress of Defendant’s Title III grant program.

19. From February 8, 2018 (i.e., the contract start date), until Defendant’s March 31.
2020 (i.e., termination of the contract), Plaintiffs performed all contracted for services and
Defendant paid Plaintiffs $5,000.00 per month per the Parties’ contract.

20. In addition, in or about October 2018, Defendant paid Plaintiffs $8,000.00 for the
preparation and submission of the 2018 annual evaluation and. in or about October 2019,
Defendant paid Plaintiffs $8,000 for the preparation and submission of the 2019 annual evaluation,
again, pursuant to the Parties’ contract.

21. Pursuant to Paragraph 14 of the Parties’ contract, Defendant may terminate the
contract but only after consultation with Plaintiffs and with the consent and approval of DOE’s
Title II Program Officer. See Exhibit 1.

22, The DOE Title II Program Officer assigned to the grantee/Defendant was Darryl
G. Davis, Senior Program Officer, U.S. Department of Education, Office of Postsecondary
Education, Higher Education Programs, 400 Maryland Avenue SW Office 250-32, Washington
D.C. 20202-5251, Office Phone: (202) 453-7582, Fax Number: (202) 453-3546, E-mail

Address: Darryl.Davis@ed.gov.
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23. Pursuant to Paragraph 15 of the Parties’ contract, if a dispute relating to the contract
arose, the contract required the Parties to give sixty (60) days advance written notice of the nature
of the dispute and the contract required the Parties to engage in a good faith dialogue to resolve
the dispute. See Exhibit 1.

24, On March 26, 2020, Defendant’s Acting General Counsel, Valencia Gallon-Stubbs,
Esq., sent Plaintiff the attached letter terminating the Parties’ February 8, 2018, Agreement five
(5) days notice (instead of the required 60 days notice) effective March 31, 2020. See Exhibit 2.

25. Attached as Exhibit 2 to this Complaint is a true and correct copy of Attorney
Gallon-Stubbs’ termination letter. See Exhibit 2.

26. The contract that Defendant terminated per Defendant’s March 26, 2020, letter was
the contract attached to this Complaint as Exhibit 1.

27, The termination letter stated that Defendant was terminating Plaintiff's contract as
a matter of convenience and discretion. See Exhibit 2.

28, This reason for termination is false.

29. The real reason for termination was that Plaintiffs opposed and objected to
Defendant’s gross mismanagement and misappropriation of federal DOE Title II grant funds.

30. Defendant’s reason for termination of the contract does not constitute legal cause
justifying the contract’s termination.

31. Indeed, Defendant’s reason for termination of the contract constitutes bad faith.

32. Plaintiffs observed that Defendant was grossly misappropriating and mismanaging

Title HI grant funds and Plaintiffs objected to same.

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33. In or about August 2019, Plaintiffs learned that Defendant’s Chief Financial
Officer, John Pittman, was pressuring Defendant's Title LIL Director, Chelsea Shell-Washington,
to use Title III funds to pay for Defendant’s general operating costs.

34. That is a violation of DOE Title III grant requirements.

35. Therefore, on August 28, 2019, Ms. Smith sent Ms. Shell-Washington a text
message objecting that Mr. Pittman was asking her to commingle grant funds and that such action
constituted fraud on the federal government.

36. On or about September 11, 2019, Ms. Smith spoke with Mr. Pittman over the
telephone.

37, During this conversation, Ms. Smith brought up the issue that Mr. Pittman was
pressuring Ms. Shell-Washington to apply Title II] grant funds to pay for Defendant’s general
operating costs.

38. Ms. Smith objected to that telling Mr. Pittman that this was a violation of DOE
grant rules and fraud on the federal government.

39. Mr. Pittman told that Ms. Smith that he was going to continue instructing Ms. Shell-
Washington to apply DOE Title II grant funds to Defendant’s general operating costs.

40. Ms. Smith replied that if that was the case, she would be compelled to report this
to Mr. Davis.

41. Mr, Pittman replied words to the effect, “then you just do that then.”

42. On or about September 18, 2019, Ms. Smith sent Ms. Shell-Washington an email
telling her that she needed to inform Mr. Davis that Mr. Pittman was pressuring her to apply DOE

Title III grant funds to Defendant’s general operating costs.
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43. In addition, on or about October 1, 2019, Ms. Smith submitted to Ms. Smith-
Washington her monthly formative evaluation and, in this evaluation, Ms. Smith indicated that
fiscal management of grant funds was a concern. See Exhibit 3.

44, For example. Ms. Smith noted that Defendant had failed to pay a construction
contractor working on a Title III infrastructure project on a timely basis.

45. Ms. Smith noted that Defendant renovated a kinesiology laboratory using Title IT]
funds but when the project was completed, the kinesiology director was moved to a substandard
laboratory.

46. Ms. Smith noted that Ms. Shell-Washington’s administration office was renovated
using Title II funds; however, when that project was completed she was moved to another office
which itself needed renovating.

47. During Plaintiffs September 2019 site visit, Ms. Smith noted that Defendant was
not keeping of the location of equipment purchased using Title IIT funds,

48. During Plaintiffs’ September 2019 site visit, Ms. Smith learned that Defendant
removed approximately $650,000 from the Title III budget and applied these funds to the general
operating budget and returned these funds to the Title ITI budget.

49, This constitutes interfund borrowing which is a violation of DOE grant regulations.

50. During this site visit, Ms. Shell- Washington shared an email with Ms. Smith written
by Mr. Pittman to Defendant’s President, E. Dr. E. LaBrent Chrite in which he said that a
consultant who would be willing to report Defendant to the DOE should not remain employed with
Defendant.

S51. This email constitutes direct evidence of retaliation.
52. After Ms. Smith began voicing her objections to Defendant’s mismanagement of
funds described above, Defendant began retaliating against her by delaying payment of her
contracted-for monthly compensation.

53. Ms. Smith learned from Defendant's Director of Accounts Payable, Lillie Wiggins,
that was holding up Ms. Smith’s compensation.

54, Ms. Smith’s exchanges with Ms. Wiggins regarding Mr. Pittman holding up Ms.
Smith’s pay were via email.

55. This continued until Plaintiff's March 26, 2020, termination.

56. Defendant’s termination did not comply with the pre-termination requirements
within the contract.

57. For example, Defendant failed to consult with Plaintiffs, as required by Paragraph
14, about its intent to terminate the contract prior to issuing the termination letter.

58. Furthermore, Defendant failed to obtain the approval of DOE’s Title HI Program
Officer, i.e., Mr. Davis, before terminating the contract which Defendant was required to obtain
per Paragraph 14.

59. On March 9, 2021, Mr. Davis sent Plaintiffs an email stating that Defendant did not
confer with him regarding Defendant's termination decision. See Exhibit 3.

60. Attached to this Complaint as Exhibit 4 is a true and correct copy of Mr. Davis’
March 9, 2021, email. See Exhibit 4.

61. Moreover, Defendant failed to give Plaintiffs sixty (60) days advance written notice
of any disputes motivating its decision to terminate the contract and failed to engage in a pre-
termination good faith dialogue with Plaintiffs to try to resolve any dispute as required by

Paragraph 15.
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62. Plaintiffs have exhausted all administrative prerequisites and they have met all
conditions precedent and they have filed this action within the applicable period of time.
63. Therefore, this Complaint is timely filed.
64. Plaintiffs have retained the law firm of Pérez Law, P.A. to represent them in this action
and they have agreed to pay said law firm a reasonable fee for its services.
COUNT I
BREACH OF CONTRACT
Florida Common Law
65. Plaintiffs reallege here Paragraphs | through 64, above.
66. The Parties entered into a valid contract on F ebruary 8, 2018.
67. Defendant accepted the contract by performing the contract as evidenced by the
fact that Defendants paid Plaintiffs the monthly and yearly contracted-for compensation.
68. Furthermore, Defendant acknowledged that the contract existed between the Parties
in Defendant’s March 26, 2020, termination letter.
69. Therefore, Defendant admitted through its course of conduct and through its March
26, 2020, letter that the Parties agreed to the February 8, 2018, contract and that they reached a
meeting of the minds.
70. Defendant materially breach the Parties’ contract several ways including, but not -
limited to, the following:
a. Defendant breached Paragraph 14 by failing to consult with Plaintiffs about its
decision to terminate the contract prior to terminating the contract;
b. Defendant breached Paragraph 14 by failing to obtain the DOE Title III
Program Officer's (i.e. Mr. Davis) approval to terminate the contract before

terminating the contract;
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c. Defendant breached Paragraph 15 by failing to give Plaintiff sixty (60) days
advance written notice of any dispute warranting termination;
d. Defendant breached Paragraph 15 by failing to engage in a pre-termination
good faith dialogue with Plaintiff to try to resolve any alleged dispute: and
e. Defendant breached the contract by terminating the contract without good cause
and in breach of its duty of good faith and fair dealing by terminating the
contract because of Ms. Smith's objections and opposition to Defendant’s
misappropriation of Title IT] grant funds.
WHEREFORE, Plaintiffs demand Judgment against Defendant for breach of contract and
Plaintiffs demand the following:
a. A declaration stating that Defendant breached the Parties’ contract;
b. Back pay due and owing for the value of the remainder of the contract’s term:
c. Pre-judgment interest;
d. Post-judgment interest;
e. Reinstatement of the contract;
f. Attorney’s fees;

Cost; and

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h. All other relief that is just and equitable.

COUNT II
WHISTLEBLOWER RETALIATION

41 U.S.C. § 4712

71. Plaintiffs reallege here Paragraphs 1 through 64, above.

72. Ms. Smith was an employee under 41 U.S.C. § 4712(a)(1) of Arcadia Solutions, LLC.
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74,

75,

76.

77.

78.

79,

80.

. Arcadia Solutions, LLC was the contractor and/or subcontractor under 41 U.S.C. 8

4712(a)(1) of a federal grantee, i.e., the Defendant.

Ms. Smith had a reasonable belief under 41 U.S.C. § 4712(a)(1) that the
grantee/Defendant in this case was grossly mismanaging and misappropriating federal
Title IIT grant funds.

Ms. Smith disclosed this information and her belief to a person or body covered under
41 U.S.C. § 4712(a)(2)(g) namely to “[a] management official or other employee of the
contractor, subcontractor, or grantee who has the responsibility to investi gate, discover,
or address misconduct.” (emphasis added).

In this case that management official of the grantee was Ms. Washington.

By so disclosing this information, Ms. Smith engaged in protected whistleblower
activity under 41 U.S.C. § 4712(a)(1).

Ms. Smith engaged in protected whistleblower activity from September 2019 through
March 2020.

In response to Ms. Smith’s protected whistleblower activity, Defendant delayed her
compensation, sent at least one email to Defendant’s President lobbying for her
termination, and ultimately terminated her on March 26, 2020..

The short period of time between Ms. Smith’s protected whistleblower activity and
termination also evidences Defendant’s retaliatory motivation for terminating Ms.

Smith.

WHEREFORE, Plaintiffs demand Judgment against Defendant under unlawful

whistleblower retaliation 41 U.S.C. § 4712(c) and Plaintiffs demand the following:

a,

A declaration stating that Defendant engaged in unlawful whistleblower retaliation:

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Affirmative action to abate the reprisal:

Reinstatement;

- Non-pecuniary compensatory damages for, infer alia, pain, suffering, and mental anguish:

Pecuniary compensatory damages for, inter alia, back pay, back wages and compensation,
and lost pay and lost wages due and owing;

Reimbursement for the value of any lost employment benefits;

Pre-judgment interest:

Post-judgment interest;

Reinstatement of the Parties’ contract:

Attomey’s fees;

Cost; and

All other relief that is just and equitable.

DEMAND FOR JURY TRIAL
Plaintiffs demand a jury trial on and for all issues so triable.

Respectfully submitted this 29" day of June, 2021,

\s\ Daniel A. Perez

Daniel A. Pérez, Esquire

Florida Bar No. 426903

Pérez Law P.A,

105 E. Robinson Street, Suite 530
Orlando, FL 32801

Tel: 407-815-2250

Fax: 407-815-2257

Email: dan@perezlawpa.com
Attomey for Plaintiff

CERTIFICATE OF SERVICE

Thereby certify that on June 29, 2021, I electronically filed the foregoing with the Clerk of

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the Court using Florida’s E-Portal Filing System which will send notice of electronic filing and,
pursuant to Florida Supreme Court Administrative Order AOSC13-49, will complete service as
required by Florida Rule of Judicial Administration 2.516 to Defendant care of its attorneys David
Chauncey, Esq., david.chauncy@adblegal.com and Michelle Bedoya Barnett. Esq..

michelle. bamett(@adblegal.com.

\s\ Daniel A. Perez

Daniel A. Pérez, Esquire

Florida Bar No. 426903

Pérez Law P.A.

105 E. Robinson Street, Suite 530
Orlando, FL 32801

Tel: 407-815-2250

Fax: 407-815-2257

Email: dan@perezlawpa.com
Attorney for Plaintiff

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THIS AGREEMENT ("Agreement") is made and entered into as of this 8'*day of
February, 2018, Bethune Cookman University with its principal place of business
located at 640 Dr. Mary McLeod Bethune Boulevard Daytona Beach, FL 32114 and
Arcadia Solutions (“Consultant’), as the principal place of business located 2
Rosemount Court Blythewood, SC 29016, and shall be effective as of February 8, 2018
(the “Effective Date").

1.0 Agreement Background

The purpose of this Agreement is to provide consultant services to support evaluation of Title {ll
programm, Federal grant writing and program development for Bethune Cookman University
office of Title Ill and the Office of Sponsored Programs.

2.0 Scope

The services under this base contract cover consulting work for Bethune Cookman
University for an annual evaluation of the Title Ill program and monthly assessment of
all activities, feedback on requested modification, prospect identification, scheduling
meetings, participation in solicitation meetings, proposal development, follow up, project
research and other related activities as directed by Bethune Cookman University office
of Title [If and Sponsored Programs and as more fully described below. Specific
statements of work may be developed and amended as additional Exhibits to this
contract as independent assignments materialize. Continuous Quality Improvement
“CQI “Plan-Do-Study-Act” (PDSA) model that addresses the multiple levels of capacity
and learning required for continuous improvement. This comprehensive approach will
ensure that the activity goals of CQI are met: 1) build program capacity to collect and
report data; 2) aggregate and organize program data to support improvements in
operations and outcomes: and 3) provide intensive support and capacity building on
data-driven decision-making. POSA enables us to assess your capacity and plan for
evidence-based data collection, collect data, analyze the data, and develop steps to act
on lessons learned. The PDSA CQI process will be ongoing and, over time, increases
both the quality of the program's work and the capacity of the organization. The PDSA
CQI process will be utilized to evaluate inputs, examine program activities and
processes, and analyze actual outcomes against projected and proposed outcomes to
determine program effectiveness and improve service delivery. Data, including short-
term outcomes outlined in the five-year plan as it relates to closely monitoring monthly
“performance dashboards" that depict each program's progress against projected
outcomes, using codes to help the program director and staff visualize each program's
progress within the percentage of the operating year monthly process will provide ample
program management and staff to course-correct, adjusting your activities or service
delivery strategies to generate the outputs and outcomes projected through the five-
year Title Il] program, which incorporates the Performance Standards and additional
outcome targets. The proposed continuous quality improvement (CQl) Process will
ensure that each program activity operates within a seamless continuum where the
ultimate goal is achieved.

~ EXHIBIT

 
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Key Tasks and Milestones

@

Conduct an annual evaluation of Title Ill program August or September of
each year

Ensure consistency in the implementation of risk assessment, monitoring,
audit. problem resolution, develops supportive data for administrative
feedback and instruction purpose

Feedback and recommendations in response to complex inquiries regarding
Title II] and other Federal program policies and procedures

Develop and recommend policies and provide technical assistance to the Title
{ll program regarding monitoring procedures, application of program policy
and conflicts in the area of responsibility

Identify major prospects for funding of Bethune Cookman University as a
camponent of the Office of Sponsored Programs.

Provide workshops or seminars as requested

Participate in solicitation meetings by phone and in person as requested
Assist in the proposal development process by reading through RFPs and
any/all accompanying resources or documents (8.g., sponsor's program
website, application guide, etc.) as assistance to the Office of Sponsored
Programs and Title Ill

Participate in all strategy meetings as requested

Assisting in drafting and obtaining letters of support from partner
organizations to ensure appropriate Federal lingo is included

Assist in the writing narrative for all assigned components. Examples:
justification of need, background, program plan, organizational
history/capacity, management plan, dissemination/research sharing plan.
monitoring and evaluation plan, and narrative/information for appendices as
necessary

Assist in the researching books, periodicals, and other resources to develop
“justification of need” and/or “background” sections

Assist in the completion of Federal forms with required information (e.¢., SF
424, contact info for Authorizing Official and person to be contacted regarding
grant, key program personnel forms, budget information, etc.)

Review prepared proposal application if provided in a timely manner

3.0 Other Support

Consultant will provide support for related but unanticipated projects of high-priority
projects with pressing deadlines. Examples might include marketing and
communications materials, reports, etc.

Consultant is strictly responsible for the manner and means of the work performed.
Bethune Cookman University will identify a point of contact who will be responsible for
monitoring Consultant's timely and satisfactory performance of the tasks or services
under this Agreement.
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4.0 Project Deliverables

The deliverables described hereafter (the “Deliverables") will be provided to the Director
of Title IH or her Designee in final form upon completion of the tasks described in this
Agreement. Preliminary or draft versions of deliverables will be made available for
review during the course of the project.

Deliverables will include:

Annual Title ill Program Evaluation
Recommended Changes

Response to all inquiries
Scheduled meetings

Written content for proposals
Consultant reports

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Items to be delivered personally and/or electronically and imptementation as approved
and requested by the Director of Title III.

5.0 Cost

In consideration for the Consulting Services to be performed by Consultant under this
Agreement, Bethune Cookman University will pay Consultant a rate of $5,000.00 per
month for the scope of work as set forth in this Agreement and $8,000.00 for annual
evaluation September or October with a subsequent annual cost of living income as
appropriate by the university and Federal standards.

Bethune Cookman University shall pay to Consultant all amounts due under this
agreement, including all expenses, pursuant to submitted invoices on the first day of
each month,

6. Non-Exclusivity

Consultant shall not be required to provide services exclusively to Bethune Cookman
University during the course of performing this Agreement and, as such, consultant shall
be permitted to perform the same or similar services for other entities subject to the
Non-Competition and Conflict of Interest Sections of this Agreement.

7. Confidentiality

a. Proprietary and Confidential: includes any trade secrets (i.e. technical information,
designs; marketing, selling and costing strategies; accounting information: customer
lists and requirements) and all other confidential, proprietary, secret and sensitive
information of the Bethune Cookman University, Customer or Third Party received in
connection with this Agreement.

b. Marking; "Proprietary and Confidential" information shall be so marked, however, the
failure by Bethune Cookman University to mark any information exchanged in relation to
this Agreement shall not excuse Consultant from the duty to exercise the utmost care in
handling the information and to also prevent disclosure to third parties.
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¢. Restriction on Use: Consultant shall not disclose or authorize any other party to
disclose any “Proprietary and Confidential” information or other information covered by
this Agreement.

8. Inspection

Bethune Cookman University shall be authorized to inspect the Consultant's work at
any time. Upon inspection, Bethune Cookman University is entitled to reject any portion
of the Work provided by the Consultant which Consultant shail repair, replace, or
otherwise fix at its own expense. However. Bethune Cookman University is entitled to
rely on Consultant's performance and shall not assume any liability in relation to
exercising its right of inspection.

9, Representations and Warranties

a. Compliance with Laws: Consultant is currently in compliance with and will continue
to comply with all applicable federal, state and local laws and regulations.

b. No Conflicting Agreements: Consultant represents that there are no contracts or
other Agreements to which Consultant is a party, or by which Consultant is bound, that
restrict, prohibit, or make unlawful Consultant's execution and/or performance of this
Agreement.

c. No Conflicts of Interest: Consultant represents that (i) the work performed under
this Agreement will not create an actual or apparent conflict of interest with any other
work that it might perform, (ji) Consultant is not presently subject to any agreement with
a competitor or potential competitor of Bethune Cookman University, (ii) Consultant is
not subject to any statute, regulation or ordinance that would limit its ability to perform
under this Agreement.

10. Changes

a. Permitted Changes: Bethune Cookman University shall have the right to make
changes to the Work, including but not limited to, changes to the delivery or
performance schedule, the quantity of services ordered, the Scope of Work, and the
place of inspection. delivery, or acceptance.

11. Non-Solicitation

Consultant agrees to refrain from employing, seeking to hire, soliciting for hire and/or
permit the employment of any person who was employed and/or affiliated with Bethune
Cookman University in relation to Bethune Cookman University’s performance of this
Agreement. This restriction on Consultant's ability to solicit Bethune Cookman
University s employees and contractors shall survive the termination and/or expiration of
this Agreement for a period of a five-year Title Ill program cycle period.

12. Non-Competition

Consultant shall be free to accept other work during the term of this Agreement:
however, such work shall not interfere with the provision of services hereunder, Further
Consultant shall not accept other work with any competitor of Bethune Cookman
University that directly competes, or otherwise creates a conflict of interest, with
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Bethune Cookman University in relation to this Agreement without Bethune Cookman
University's prior written consent,

13. Indemnification

Consultant shall indemnify, defend and hold Bethune Cookman University harmless
from all loss, costs (including attorney's fees), or damages arising out of acts,
misconduct, and/or omissions of its employees, agents, or representatives arising under
or in connection with this Agreement.

14, Termination
a, Convenience: Bethune Cookman University may terminate this Agreement after
discussion with consultant and approval of Title Ill program officer,

b. Default:

1. Event of Default: If Consultant provides Bethune Gookman University any reason to
believe it may not be able to continue performing, Consultant shall be in default unless
Consultant remedies the default to the satisfaction of the Bethune Cookman University.
In the event of a material failure to cure, or otherwise perform, Bethune Cookman
University may terminate this Agreement immediately.

2. Notice of Default: Upon receipt of notice of complete or partial termination for
default, Consultant shall: (i) stop affected Work, {ii) terminate all any related Consultant
and/or supply agreements, (ii) complete performance of any portion of the Work that
has not been terminated: and, (iv) take any other actions as may reasonably be
required by Bethune Cookman University to expedite Consultant's discontinuation of
performance under this Section.

15. Disputes

a. Good Faith Negotiations: In the event ofa dispute arising under this Agreement,
the Parties agree to attempt to negotiate in good faith toward the resolution of the
dispute within sixty (60) days of either Party's receipt of written notice indicating the
grounds for the dispute.

b. Litigation: If the Parties are not able to resolve the dispute under Section 13(a) then
either party may proceed with arbitration or choose to litigate in court of competent
competition within the state of Florida under Florida laws. However, in all cases,
Consultant shall be bound by decisions of the Customer to the same extent as the
Bethune Cookman University.

c. Duty to Proceed: Unless terminated, Consultant shall continue to proceed diligently
with the Work under this Agreement despite any dispute unless otherwise directed in
writing by Bethune Cookman University.

14. No Waiver

The terms of this Agreement can only be waived by a writing that is signed by the
Parties.
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15. Limitation of Liability

Claims for damages by Consultant arising under or related to this Agreement shall be
limited to direct damages. In no event will special, punitive, incidental, indirect,
consequential or lost profit damages be available to Consultant with respect to any
alleged breach or cause of action (whether Sounding in tort, strict liability, or otherwise)
in relation to Consultant's performance of the Work under this Agreement.

16. Assignment
Consultant shall not assign this Agreement without the prior written consent of the
Bethune Cookman University, however, Bethune Cookman University may assign to its

heirs, successors, or assigns upon providing the Consultant notice thirty (30) days prior
to any such assignment.

17. Severability

If any provision of this Agreement is held to be invalid, void or unenforceable by a court
of competent jurisdiction, the remaining provisions shall continue in full force without
being impaired or invalidated.

18. Merger

This Agreement constitutes the entire Agreement between the Parties and, therefore,
sets forth their entire rights, duties and obligations. Any prior agreements, promises,
negotiations, or representations not expressly set forth in this Agreement are of no force
and effect and shall be superseded by this Agreement. Further this agreement shall
govern all prior relationships and dealings between the Parties to this Agreement in
relation to services performed.

Conditions in this document, as agreed upon by both parties, will be reviewed for
consideration to continue at least six months prior to its date of termination.
| have read and understand the Independent Consultant Agreement.

Name (Aon need Wis doth, Date dz [of/ IP

Consultant”

Name Date
Director of Title Il

Name Date
President Bethune Cookman University
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BETHUNE-COOKMAN UNIVERSITY

 

Founded in 1904 by Dr. Mary McLeod Bethune Valencia Gallan-Stabbs, Esquire

Acting General Counsel
OFFICE OF LEGAL AFFAIRS

Via Email: Arcadiasolutions01@gmail.com,
Regular Mail and Certified Mail, Return
Receipt Requested 7002 3150 0001 3717 8551

March 26, 2020

Ms. Cassandra M. Smith
Arcadia Solutions

2 Rosemount Court
Blythewood, SC 29016

Re: Termination of Consulting Agreement ~ Effective March 31, 2020

Dear Ms. Smith,

This letter serves as formal notification that Arcadia Solutions’ Consulting Agreement
with Bethune-Cookman University (“University” or “B-CU"), signed by you (whether in
your personal capacity or on behalf of Arcadia Solutions), dated February 8, 2018
(“ Agreement”), is terminated effective March 31, 2020. The termination is as a matter of
convenience and at the discretion of the University pursuant to the terms of the
Agreement. Please complete any and all work required for the year 2019 through this
month, March 2020, regarding the scope of services under the Agreement. No invoices
will be approved as submitted for work performed after March 31st.

As a consultant for the University, you and Arcadia Solutions had access to contidential
and proprietary information of B-CU. This information included, but was not limited to,
technical information, designs, marketing, selling and costs strategies,
accounting/ financial information, and other sensitive information. Under the terms of
the Agreement you and Arcadia Solutions are required to keep all such information
confidential and not to disclose it to third parties or use to the detriment of B-CU. Any
unauthorized disclosure or use of University confidential information could lead to
litigation against you and Arcadia Solutions.

EXHIBIT

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To the extent that you and Arcadia Solutions have documents, records, information,

software or other property of the University, demand is hereby made to immediately

return those items to the University. You should return the same to the undersigned’s

attention at: Office of Legal Affairs, 640 Dr. Mary McLeod Bethune Blvd., Daytona Beach,

FL 32114. Please ensure that any remaining or outstanding invoices for services
rovided are submitted on or before Tuesday, March 31, 2020 for processing.

 

We appreciate the service you and Arcadia Solutions have provided to and on behalf of
the University. We wish you the best in your future endeavors.

Vere Nw
Vena G. -Stub
Acting General Counsel
cc: Karen Bearden, PhD, Executive Vice-President

John C. Pittman, Vice President for Fiscal Affairs /CFO
Chelsea M. Washington, Director of Title II and ARG
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INVOICE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

INVOICE Number _32
DATE October 01, 2019
ORDER NUMBER
TERMS Monthly
[COMPANY —_ | ARCADIA SOLUTIONS |
ADDRESS _ _. 2 Rosemount Court
CITY Biythewood
STATE - South Carolina
ZIP CODE | 29016
PHONE | (803)608-7442
FAX :
| CONTACT Cassandra Smith i
ITEMS DETAIL QUANTITY UNIT PRICE AMOUNT
. wf $3,233.33
COMMENTS: —
Consultant - SUBTOTAL $3,333.33
_ assessment TOTAL $3,333.33 :
| October 2019

 

 

 

 

 

Program performance measure analysis monthly for adherence with stated project objectives, outcomes
and performance standards to improve program performance, where necessary, and for better service
delivery and implementation strategies. All data routinely reviewed and discussed with Title lil director
monthly.

 

isi Hf concern reporting of intern controls of fiscal management of funds. Please orovide
documentat! on of steps in place to ensure funds provided are being expended an objectives and goals of
the stated project. , ;
fa “x ob ~ wh oe “A. Cassandra Smith — ¢” a fogs 7

‘EXHIBIT

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Daniel Perez

From: Cassandra Smith <arcadiasolutions68@gmail.com>

Sent: Wednesday, June 23, 2021 5:15 PM

To: Daniel Perez

Subject: EMAIL FROM DARRYL DAVIS INDICATING MEETING NOT HELD

From: Davis, Darryl <Darryl. Davis@ed.gov>
Date: Tue, Mar 9, 2021 at 3:53 PM

Subject: RE: Cassandra
To: Cassandra Smith <arcadiasolutionsO1@qmail.com>

Ce: Davis, Darryl <Darry!. Davis@ed.gov>

Hello Ms. Smith,

Thank you for your response, Unfortunately | recall no meeting with you along with BCU.
Again there is no specifics to address this alleged issue.

Therefore, | would suggest you contact the |.G. office.

Kind Regards,

Darryl G6. Davis

Senior Program Manager

United States Department of Education
Office of Postsecondary Education
Higher Education Programs

400 Maryland Avenue SW Office 250-32
Washington D.C. 20202-5251

Office Phone: (202) 453-7582

 
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Fax Number: (202) 453-3546

E-mail Address Darryl Davis@ed.gov

From: Cassandra Smith <arcadiasolutionsO1@amail.com>
Sent: Tuesday, March 9, 2021 12:58 PM

To: Davis, Darryl <Darryl.Davis@ed.gov>

Subject: Cassandra

Good morning Mr. Davis, what | was specifically referencing...the attorney for BCU eluded to your
indication that you participated in a required meeting between BCU and myself.

Cassandra Smith
